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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

   In re:                                           §          Case No. 23-11007-cgb
                                                    §
   ARTIUSID, INC.,                                  §          Chapter 7
                                                    §
                    Alleged Debtor.                 §

                ARTIUS.ID’S SUPPLEMENT TO WITNESS AND EXHIBIT LIST
                           FOR SEPTEMBER 25, 2024 HEARING
                               (re: Dkt. Nos. 83, 88, 99, 115)

  TO:       THE HONORABLE CHRISTOPHER G. BRADLEY,
            UNITED STATES BANKRUPTCY JUDGE

            Alleged Debtor, artius.iD, Inc. (“Artius”), by and through undersigned counsel, hereby

  files its supplement to Artius.id’s Witness and Exhibit List for September 25, 2024 Hearing [Dkt.

  No. 115] for the hearing scheduled for September 25, 2024, at 1:30 p.m. (the “Hearing”) to

  consider, among other things, the Order Abating Proceedings on Debtor’s Motion for Rehearing,

  Granting Stay of Order for Relief Pending Ruling on Consensual Dismissal of Involuntary Case,

  and Setting Procedures for Approval of Dismissal [Dkt. No. 83], Consent Stipulation and Motion

  for Dismissal of Involuntary Petition Under Chapter 7 [Dkt. No. 88], and Collaborative Vision

  LLC’s Objection to Consent Stipulation and Motion for Dismissal of Involuntary Petition Under

  Chapter 7 [Dkt. No. 99].

                                     SUPPLEMENTAL EXHIBIT

            Artius designates the following supplemental exhibit that may be offered into evidence and

  used at the Hearing (exclusive of those that may be used for impeachment or rebuttal purposes):
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      EX. #                        DESCRIPTION OF EXHIBIT                                  OFFE    OBJECT    ADMIT

                                                                                           RED       ION       TED

      020       A true and correct copy of the press release issued by Artius on May
                11, 2023 can be found at the following link1:
                https://www.prweb.com/releases/Q5iD_Announces_New_Corporate_C
                o_Headquarters_in_Austin_Texas_and_Bellevue_Washington/prweb1
                9332927.htm#:~:text=Q5iD%2C%20Inc.%2C%20THE%20premier,for
                %20rapid%20and%20exponential%20growth.

          Artius asks that the Court take judicial notice of the pleadings and transcripts filed in the

  proceedings before this Court, including without limitation any and all orders, motions, proofs of

  claim, and other pleadings, and any exhibits thereto. Artius also asks that the Court take judicial

  notice of the Oregon litigation involving Collaborative Vision, LLC. Artius reserves the right to

  use additional demonstrative exhibits as they deem appropriate in connection with the Hearing.

  Artius reserves the right to use any exhibits presented by any other party. Artius reserves the right

  to amend and/or supplement this witness and exhibit list. Artius reserves the right to use exhibits

  not listed herein for impeachment purposes at the Hearing.




  1
    The link to this exhibit was previously provided in the Omnibus Reply in Support of Consent Stipulation and Motion
  for Dismissal of Involuntary Petition Under Chapter 7 [Dkt. No. 113] at FN19.


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  Dated: September 23, 2024                  Respectfully Submitted,



                                             By: /s/ Mark D. Bloom
                                             Alexander D. Burch
                                             BAKER & McKENZIE LLP
                                             800 Capitol St., Suite 2100
                                             Houston, Texas 77002
                                             Telephone: (713) 427-5000
                                             Facsimile: (713) 427-5099
                                             alexander.burch@bakermckenzie.com

                                             -and-

                                             Mark D. Taylor
                                             BAKER & McKENZIE LLP
                                             1900 N. Pearl St., Suite 1500
                                             Dallas, Texas 75201
                                             Telephone: (214) 978-3000
                                             Facsimile: (214) 978-3099
                                             mark.taylor@bakermckenzie.com

                                             -and-

                                             Mark D. Bloom (admitted Pro Hac Vice)
                                             BAKER & McKENZIE LLP
                                             Sabadell Financial Center
                                             1111 Brickell Avenue
                                             10th Floor
                                             Miami, Florida 33131
                                             Telephone: (305) 789 8927
                                             Facsimile: (305) 789 8953
                                             mark.bloom@bakermckenzie.com

                                             Counsel for Alleged Debtor artuis.iD




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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on September 23, 2024 a true and correct copy of the foregoing
  was served simultaneously upon docketing on all counsel of record or pro se parties identified on
  the attached Service List via transmission of Notices of Electronic Filing generated by CM/ECF
  or by first class U.S. mail on those counsel or parties who are not authorized to receive
  electronically Notices of Electronic Filing in this case.

                                                             /s/ Mark D. Bloom
                                                             Mark D. Bloom

  Electronic Notice by CM/ECF

  Jason Bradley Binford
  Ross, Smith & Binford, PC
  2901 Via Fortuna, Bldg. 6, Suite 450
  Austin, TX 78746
  jason.binford@rsbfirm.com

  See Attached Matrix

  Manual Notice

  None




                                                 4
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Label Matrix for local noticing       ArtiusID, Inc. 6
                                                     5                     United States Trustee (SMG17)
0542-1                                               801 Barton Springs                                   United States Trustee*
Case 23-11007-cgb                                    Austin, TX 78704-1146                                903 San Jacinto Blvd, Suite 230
Western District of Texas                                                                                 Austin, TX 78701-2450
Austin

U.S. BANKRUPTCY COURT                                ArtiusID, Inc.                                       ArtiusID, Inc.
903 SAN JACINTO, SUITE 322                           c/o Alexander D. Burch*                              c/o Robert T. DeMarco*
AUSTIN, TX 78701-2450                                BAKER & McKENZIE LLP                                 DeMarcoMitchell, PLLC
                                                     800 Capitol St., Suite 2100                          12770 Coit Road, Suite 850
                                                     Houston, Texas 77002-2947                            Dallas, TX 75251-1364

Collaborative Vision LLC                             Collaborative Vision LLC
c/o Cokinos Young                                    c/o Lynn Hamilton Butler*                            c/o Emma P. Myles
1221 Lamar 16th FL                                   Husch Blackwell LLP                                 Cokinos Young
Houston TX 77010-3039                                111 Congress Avenue, Suite 1400                     1221 Lamar Street, 16th Floor
Self-Terminated on 08/23/2024                        Austin, TX 78701-4093                               Houston, Texas 77010-3039
                                                                                                         Self-Terminated on 08/23/2024
Collaborative Vision, LLC                            Collaborative Vision, LLC                            Goldstein Consulting Services, LLC
c/o Kell C. Mercer, PC*                              c/o Tres Gibbs                                       c/o Michael T. Conway, Esq.*
901 S Mopac Expy Bldg 1 Ste 300                      Cokinos Young                                        Lazare Potter Giacovas & Moyle LLP
Austin, TX 78746-5883                                1221 Lamar, 16th Fl.                                 747 Third Avenue, 16th Floor
                                                     Houston, Texas 77010-3039                            New York, NY 10017-2856
                                                     Self-Terminated on 08/23/2024
Rearc LLC                                            Ron Satija, Chapter 7 Trustee                        United States Trustee - AU12
c/o Michael T. Conway, Esq.*                         c/o Todd Headden*                                    United States Trustee
Lazare Potter Giacovas & Moyle LLP                   Hayward PLLC                                         903 San Jacinto Blvd, Suite 230
747 Third Avenue, 16th Floor                         7600 Burnet Road, Suite 530                          Austin, TX 78701-2450
New York, NY 10017-2856                              Austin, TX 78757-1269                                c/o Shane P. Tobin*

Xmogrify                                             Alexander D. Burch*                                  Eric A Liepins*
c/o Michael T. Conway, Esq.*                         Baker McKenzie LLP                                   Legal Aid of Northwest Texas
Lazare Potter Giacovas & Moyle LLP                   700 Louisiana, Suite 3000                            1515 Main Street
747 Third Avenue, 16th Floor                         Houston, TX 77002-2871                               Dallas, TX 75201-4841
New York, NY 10017-2856

Mark D. Bloom*                                       Robert T DeMarco III*                                Ron Satija*
Baker McKenzie LLP                                   Robert Demarco                                       P.O. Box 660208
1111 Brickell Ave                                    12770 Coit Road                                      Austin, TX 78766-7208
Ste 10th Floor                                       Suite 850
Miami, FL 33131-3122                                 Dallas, TX 75251-1364

*Parties served by ECF


                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Collaborative Vision, LLC                         End of Label Matrix
c/o Lynn Hamilton Butler                             Mailable recipients     20
Husch Blackwell LLP                                  Bypassed recipients      1
111 Congress Avenue, Suite 1400                      Total                   21
Austin, TX 78701-4093
